
                                                                    



















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-09-344-CV



IN RE BUFORD SCOTT, JR. &nbsp;	RELATOR



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ORIGINAL PROCEEDING

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MEMORANDUM OPINION
(footnote: 1)
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The court has considered relator’s petition for writ of mandamus and motion for emergency stay and is of the opinion that relief should be denied. &nbsp;Accordingly, relator’s petition for writ of mandamus and motion for emergency stay are denied.

Relator shall pay all costs of this original proceeding, for which let execution issue.



BOB MCCOY

JUSTICE



PANEL: &nbsp;MCCOY, LIVINGSTON, and MEIER, JJ.



MEIER, J. dissents without opinion.



DELIVERED: &nbsp;November 25, 2009

FOOTNOTES
1:See
 Tex. R. App. P. 47.4.




